                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 JODY E. RATCLIFF,

               Plaintiff,
                                                              1:17-CV-174
        v.

 AMERICAN HONDA MOTOR CO.
 INC., et al.,

               Defendants.


                                         ORDER

      THIS MATTER is before the Court upon a joint motion by the plaintiff, Jody E.

Ratcliff, and the defendant, BMW of North America, LLC to dismiss without prejudice,

all claims against BMW of North America, LLC, in this matter. Doc. 360.

      It appearing that grounds exist to permit the plaintiff to voluntarily dismiss this

action against BMW of North America, LLC without prejudice, and that the motion

should be granted for good cause shown;

      It is therefore ORDERED, ADJUDGED, and DECREED that the action of the

plaintiff Jody E. Ratcliff against the defendant, BMW of North America, LLC be

dismissed without prejudice, with each party to bear its own costs.

      This the 16th day of August, 2018.




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                                          UNITED STATES DISTRICT JUDGE




     Case 1:17-cv-00174-CCE-JEP Document 361 Filed 08/16/18 Page 1 of 2
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Case 1:17-cv-00174-CCE-JEP Document 361 Filed 08/16/18 Page 2 of 2
